
COBB, Judge,
dissenting.
I agree with the result the majority reaches in this case as to all but one claim. In accordance with my special writing in Poole v. State, [Ms. CR-99-1200, August 31, 2001] — So.2d - (Ala.Crim.App.2001), I believe that Jones has presented a valid jurisdictional challenge to the trial court’s authority to impose sentence and may be entitled to relief on this claim. Thus, the circuit court should have granted the petition in order to address Jones’s challenge to his sentence. Therefore, I must respectfully dissent from the majority’s affirmance of the denial of Jones’s Rule 32, Ala.R.Crim.P., petition.
SHAW, J., concurs.
